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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )       Case No. 24-cr-00121-CRC
                                   )
STEPHEN BAKER,                     )
                                   )
                                   )
                 Defendant         )
                                   )




     DEFENDANT STEPHEN BAKER’S MOTION TO MODIFY TERMS AND
                CONDITIONS OF PRETRIAL RELEASE




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      NOW COMES Defendant Stephen Baker, by and through his

undersigned counsel or record, William L. Shipley and James Lee Bright, and

respectfully requests this Court to modify the terms and conditions of pretrial

release supervision.

   I. Procedural Background

      On February 21, 2024, Defendant Baker was charged by way of a

criminal complaint for violations of 18 USC 1752 (a)(1) and (a)(2) and 40 USC

5104 (e)(2)(D) and (e)(2)(G). See ECF No. 1.

      On March 1, 2024, an arrest warrant for Defendant Baker was issued.

See ECF No. 5.

      Defendant Baker self-surrendered to the FBI’s Dallas Field Office as

arranged, and later that same day made an initial appearance in the Northern

District of Texas before the Hon. Magistrate Judge Clinton Averitte.

      During that initial appearance in the Northern District of Texas, no

detention hearing was conducted as the Government did not move to detain the

defendant. See ECF No. 11.

      On March 7, 2024, a four-count Information was filed alleging the same

four criminal violations as alleged in the Criminal Complaint. See ECF No. 8.

      On March 14, 2024, a Magistrate Judge in this District imposed what

were referred to as the “standard” conditions of release during Mr. Baker’s

initial appearance in his District. Among those conditions was a restriction on

possessing or carrying a firearm; a requirement that Mr. Baker notify Pre-Trial

Services (PTS) of any contact with law enforcement; and a requirement that Mr.

Baker give notice to PTS of an intention to travel to the District of Columbia for

employment. See ECF No. 13 at Pg. 2, lines “k”, “s”, and “t.”
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      Because no detention hearing was held during either appearance, no

finding was made in either district that Mr. Baker is a “flight risk” or “danger to

the community.” The terms and conditions of release imposed in both districts

are only appropriate after such findings at a detention hearing, with the

conditions being imposed to mitigate those risks to the extent necessary to

allow Mr. Baker to be released pending trial. Because no factual basis was

established that justified a need to impose conditions beyond that required by

18 U.S.C. Sec. 3142(b), all additional conditions imposed by Magistrates in

both Districts should be removed by this Court.

      Alternatively, if this Court determines that terms and conditions are

appropriate, Defendant hereby requests that the specific conditions involving

firearms possession, “contact with law enforcement,” and “notice prior to travel

into D.C.” be modified as requested herein.

      II.   Argument

            A.     The Order Imposing Terms and Conditions of Pretrial Release
                   is Procedurally and Substantively Defective, and All
                   Conditions Should Be Removed.

                   1.    The Statutory Requirements of the Bail Reform Act
                         For Imposing Terms and Conditions of Pretrial Release
                         Were Not Met.

      The Bail Reform Act authorizes several “carefully limited exception[s]” to

the general norm that defendants are not to be detained prior to trial. United

States v. Munchel, 991 F.3d 1273, 1279 (D.C. Cir. 2021) (quoting United States

v. Salerno, 481 U.S. 739, 755 (1987)). The question of whether one of these

exceptions applies is to be addressed by a “detention hearing.” But conducting

a “detention hearing” has certain factual prerequisites – it does not occur in



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every case brought by the Government – particularly where, as here, the only

charged offenses are misdemeanors.

             Under the Bail Reform Act, 18 U.S.C. § 3141 et seq., a person
      awaiting trial on a federal offense may either be released on personal
      recognizance or bond, conditionally released, or detained. See 18 U.S.C.
      § 3142(a). The Act establishes procedures for each form of release, as
      well as for temporary and pretrial detention. Detention until trial is
      relatively difficult to impose. First, a judicial officer must find one of
      six circumstances triggering a detention hearing. See 18 U.S.C. §
      3142(f). Absent one of these circumstances, detention is not an
      option. See, e.g., United States v. Ploof, 851 F.2d 7, 11 (1st Cir. 1988).

United States v. Singleton, 182 F.3d 7, 9 (D.C. Cir. 1999)(Emphasis added).

      The first basis for holding a “detention hearing” is where the Government

has filed a motion seeking detention, alleging that the defendant is charged

with an offense falling in one of the categories enumerated under 18 U.S.C.

§ 3142(f)(1)(A)-(E). There is no dispute here that the four misdemeanor offenses

filed against Mr. Baker do not fall within any of those listed sub-sections.

Thus, there is no factual basis that justified a detention hearing based on

“danger to the community” – and the Government never asked for a detention

hearing on that basis.

      As noted in ECF No. 11, the Northern District of Texas Rule 5

documents, no detention hearing was conducted for Mr. Baker during his

initial appearance in Texas. This is expressly stated in the Rule 5 Order issued

by the Texas federal magistrate – “No detention hearing is necessary because

the Government did not move to detain the defendant.”

      The second basis for holding a detention hearing can come from a motion

by the Government or upon the Court’s own motion “in a case that involves” a

serious risk that the defendant will flee or will obstruct justice or attempt to

obstruct justice, or threaten, injure, or intimidate a prospective witness or
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juror, or attempt to do so. 18 U.S.C. Sec. 3142(f)(2)(A)-(B). A detention hearing

based on concerns specified in Sec. 3142(f)(2) requires a factual foundation

about the nature of the case or the nature of the defendant before it becomes a

basis to conduct a detention hearing. While the bar triggering the need to have

a detention hearing on these two grounds is low, it is not non-existent.

      The parties may proceed by proffer, and the Court’s decision concerning

whether to hold a detention hearing is “based on even less information than a

decision to detain or release” a defendant. United States v. Singleton, 182 F.3d

at 9. In other words, the determination pursuant to Section 3142(f) to hold a

detention hearing in the first place requires less evidence than the

determination pursuant to Section 3142(e) to detain a defendant, which is

based on a preponderance of the evidence or clear and convincing evidence.

See id. (requiring greater evidence under Section 3142(f) “would blur two

distinct statutory inquiries and would give more weight to fact-intensive

analysis at an earlier stage of the case than Congress appears to have

intended”).

      This case involves four misdemeanors. Mr. Baker was first contacted by

the FBI in August 2021 regarding his presence at the Capitol on January 6,

2021. Mr. Baker sat for an interview in an FBI Field Office in October 2021.

Mr. Baker received a “Target Letter” from a DOJ prosecutor advising him he

would likely be charged with one or more felony offenses. Mr. Baker received a

grand jury subpoena for all videos he recorded at the Capitol, and he complied

with that subpoena. Mr. Baker has been advised on no fewer than three

separate occasions prior to his arrest on March 1, 2024, that his indictment

and arrest were imminent. Notwithstanding this history, as set forth in more
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detail herein, Mr. Baker has repeatedly and continually since January 2021

entered the District of Columbia, gone to the United States Capitol, and visited

the Prettyman Federal Courthouse in his role as a journalist right up to the

date of the filing of this motion. These facts undermine any justification for

conducting a detention hearing on the basis of “risk of flight.”

      Similarly, the Government has not alleged – and there is no factual basis

otherwise – that Mr. Baker poses a threat to these proceedings through

“obstructive” conduct. He sat for an interview and responded to a grand jury

subpoena by producing the materials he was required to produce.

      Only after the Court concludes that the statute authorizes it to hold a

detention hearing does it then turn to the question of release conditions. 18

U.S.C. § 3142(e)(1); United States v. Munchel, 991 F.3d at 1279. After finding

that such a risk of flight/obstruction and/or danger to the community exists,

the Court then turns to the question of whether there is a condition or

combination of conditions to mitigate the risk(s) in a way that reasonably

assures the safety of the community and/or the appearance of the defendant,

taking into consideration the factors set forth at 18 U.S.C. § 3142(g):

      (1) the nature and circumstances of the offense charged, including
      whether the offense is a crime of violence, a violation of section
      1591, a Federal crime of terrorism, or involves a minor victim or a
      controlled substance, firearm, explosive, or destructive device;
      (2) the weight of the evidence against the person; (3) the history and
      characteristics of the person, including—
             (A) the person’s character, physical and mental condition,
      family ties, employment, financial resources, length of
      residence in the community, community ties, past conduct,
      history relating to drug or alcohol abuse, criminal history, and record
      concerning appearance at court proceedings; and
             (B) whether, at the time of the current offense or arrest, the
      person was on probation, on parole, or on other release pending trial,
      sentencing, appeal, or completion of sentence for an offense under
      Federal, State, or local law; and
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      (4) the nature and seriousness of the danger to any person or the
      community that would be posed by the person’s release.

      18 U.S.C. § 3142(g)(1)-(4). See United States v. Singleton, 182 F.3d at 9.

      Pretrial conditions of release must be “reasonably calculated to fulfill” the

sought purpose of mitigating the identified risks. See Galen v. County of Los

Angeles, 477 F.3d 652, 659-60 (9th Cir. 2007); United States v. Kennedy, 593

F. Supp. 2d 1221 (W.D. Wash. 2008). Where no “purpose” for the imposed

release conditions was ever established in fact, the imposed conditions are not

“calculated” to address anything.

                  2.     There Is No Basis in the Record Establishing That Mr.
                         Baker’s Release Would Constitute a Risk of Flight/
                         Obstruction and/or Danger to the Community That
                         Justifies The Conditions of Pretrial Release Imposed.

      The D.C. Circuit recently held that “to order a defendant preventatively

detained, a court must identify an articulable threat posed by the defendant to

an individual or the community.” United States v. Munchel, 991 F.3d at 1283.

This threat “must also be considered in context” and “whether a defendant

poses a particular threat depends on the nature of the threat identified and the

resources and capabilities of the defendant.” Id.

      The Government did not seek to detain Mr. Baker on the basis that his

release without conditions would pose a threat to the safety of the community.

As such, there has never been a finding that Mr. Baker’s release without

conditions posed the kind of articulable threat posed to the safety of the

community that could only be mitigated by the imposition of a condition or

combination of conditions on his pretrial release. As such, the terms and

conditions of release already imposed which serve to mitigate such a non-

existent threat to the safety of the community violate Sec. 3142(b).
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      Similarly, because no detention hearing was held in the Northern District

of Texas, there was no factual determination made by that court that Mr. Baker

posed a “risk of flight” or a threat to obstruct the proceedings that warranted

the imposition of conditions to mitigate either concern as contemplated by Sec.

3142(f)(2). To the extent that conditions imposed in that district are intended

to mitigate either of those risks, those conditions also lack a factual basis and

are not authorized by the Bail Reform Act.

      In sum, no proceedings have been conducted where a judicial officer

made a determination that Mr. Baker posed any of the risks identified in the

Bail Reform Act for which conditions called for under Section 3142(c) are

authorized. All conditions currently imposed on Mr. Baker beyond those listed

in Section 3142(b) should be removed.




            B.     Even if the Proceedings Before The Magistrate(s) Are Deemed
                   To Have Been a Statutorily Authorized Detention Hearing, No
                   Factual Basis Was Made as to Mr. Baker Being A “Risk of
                   Flight” or “Danger to the Community” That Justifies the
                   Conditions of Release Imposed To Mitigate Such Risks.

      Assuming arguendo that either appearance before the Magistrate Judges

was a “detention hearing” as contemplated by Sec. 3142(f), there was no factual

basis established that Mr. Baker was a flight risk or a threat to obstruct these

proceedings such as would warrant the conditions of release that have been

imposed on him.




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      The only factual allegations before either Court would have been those

set forth in the Affidavit filed in support of the Criminal Complaint dated

February 21, 2024. See ECF No. 1. But the Affidavit includes no references to

any violent or obstructive conduct by Mr. Baker, nor does it reflect any basis to

believe that there was a “risk of flight” with respect to Mr. Baker. Thus, the

allegations of the Affidavit standing alone provide no basis to determine that

conditions of pretrial release were needed to mitigate any risk that would have

warranted the detention hearing, or that a defendant might be detained absent

the imposition of conditions.

      Because the conditions imposed have no relationship to a risk of harm

sought to be prevented by the Bail Reform Act, the conditions imposed are not

justified under the Act. All conditions imposed, other than those authorized for

a “personal recognizance” under Sec. 3142(b), should be removed by this

Court.



             C.    Even If This Court Concludes the Conditions Were Properly
                   Imposed, Mr. Baker Requests Modification of Three of the
                   Conditions Based on the Specific Facts and Circumstances
                   of His Case.

                   1.    Defendant Baker Should Retain His Right to Possess
                         and Carry a Firearm for Personal Protection When Not
                         At His Residence In North Carolina.

                         a.     There Has Been No Particularized Showing To
                                Justify a Suspension of Mr. Baker’s Second
                                Amendment Right To Keep and Bear Arms for
                                Self-Protection.

      In the hearings before Magistrate Judges in both the Northern District of

Texas and the District of Columbia, the Government requested and the Court

imposed without modification the “special” condition of release with regard to
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possession of firearms, i.e., that Mr. Baker “not possess a firearm, destructive

device, or other weapon.”

       Mr. Baker is charged with four misdemeanors. Convictions on any/all of

those charges will not implicate his right to keep and bear firearms under the

Second Amendment as he would not be a “disqualified” person under federal

law.

       In the District of Columbia v. Heller, the Supreme Court held that “the

Second Amendment conferred an individual right to keep and bear arms.”

District of Columbia v. Heller, 128 S. Ct. 2783 (2008). While Heller also carved

out exceptions for depriving certain classes of individuals of their Second

Amendment rights, this list was limited to felons, the mentally ill,

schools, and conditions on commercial sales. See Id., 128 S. Ct. at 2786. The

Heller list of exceptions did not include individuals charged with misdemeanors

in federal court who might be subject to pretrial release conditions.

       Following Heller, the U.S. District Court for the Southern District of New

York reviewed in detail how Heller applied to pretrial release conditions and

found that “there is no basis for categorically depriving persons who are merely

accused of certain crimes of the right to legal possession of a firearm.” United

States v. Arzberger, 592 F. Supp. 2d 590, 602 (S.D.N.Y. 2008).

       In New York State Rifle & Pistol Association v. Bruen, 597 U.S. 1, 142

S.Ct. 2111 (2022) the Supreme Court struck down a New York State law

requiring that an applicant for an unrestricted license to carry a firearm

outside the home for self-defense must establish “proper cause.” The Court

held that one purpose of the Second Amendment was to allow self-protection

that extends beyond the home.
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      Mr. Baker is the lawful owner of one or more firearms, he has the

necessary license(s) where required to carry such firearms in a concealed

fashion, and has always complied with the firearms laws of every state he

travels to for employment purposes. Before Bruen, when Mr. Baker would

travel to the D.C. metropolitan area, he would stay in a hotel in Northern

Virginia and leave his firearm at the hotel before crossing into the District of

Columbia to comply with the District’s firearms laws.

      Mr. Baker’s case has attracted significant coverage in all forms of media,

and he has received numerous threatening communications in social media

postings as well as direct messages via social media and text messages to his

phone. One individual – known to Mr. Baker due to his expressions of hostility

online -- traveled to Dallas, Texas following Mr. Baker’s arrest and court

appearance there, and went to the location of Mr. Baker’s employer in Dallas in

order to seek him out. This individual was monitored by the security

personnel of Mr. Baker’s employer, before departing without being able to

contact Mr. Baker. That individual later posted video on social media of his

visit to Mr. Baker’s place of employment and attempt to confront him.

      In addition to the status of Supreme Court jurisprudence on Mr. Baker’s

Second Amendment rights, there are other grounds upon which those rights

need to be protected by this Court pursuant to the Constitution.

      The Excessive Bail Clause of the Eighth Amendment applies to

conditions of pretrial release. See United States v. Salerno, 481 U.S. 739, 754

(1987) (holding “the Government's proposed conditions of release or detention

not be ‘excessive’ in light of the perceived evil’”). Narrow tailoring of pretrial

release conditions is part of this Court’s obligation to otherwise preserve Mr.
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Baker’s rights pursuant to Eighth Amendment’s prohibition on excessive bail

conditions.

      The Due Process clause of the Fifth Amendment entitles a defendant to

protection from deprivation of his constitutional rights through individualized

and particularized consideration of such requested deprivations. See United

States v. Kennedy, 593 F. Supp. 2d 1221 (W.D. Wash. 2008). This is also why

18 U.S.C. Sec. 3142(c)(1)(B), which operates under the Bill of Rights’ protection

of his liberty interests, requires this Court to release the defendant “subject to

the least restrictive” condition or combination of conditions, and requires that

any imposed conditions be “reasonable.” The careful particularization of the

harm that the pretrial release condition is meant to address is both a statutory

and a constitutional obligation the Court is obligated to provide to every

defendant. As noted above, no particularized harm has been established with

regard to Mr. Baker being a “danger to the community”, which is the basis for

the imposition of a “no firearms” condition. Such a condition cannot be

imposed as a preventative measure in every case – it must be linked to an

articulable threat of future harm that might result from a defendant’s release

pending trial. United States v. Munchel, 991 F.3d at 1283. This obligation is

even greater after Bruen, as Mr. Baker’s Second Amendment right to possess

and carry a firearm outside his residence is now expressly linked to his right to

defend himself against others who might intend him harm.

      A deprivation of his Second Amendment right to possess a firearm for his

personal protection without a necessary basis to do so constitutes excessive

bail and a violation of Mr. Baker’s right to due process, in addition to being

violative of the “least restrictive” limitation required by the text of 18 U.S.C. §
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3142(c). See also Arzberger, 592 F. Supp. 2d at 605-606 (“Conditioning pretrial

release on the relinquishment of constitutionally protected rights in

circumstances where the conditions are not necessary to satisfy legitimate

governmental purposes would constitute excessive bail in violation of the

Eighth Amendment.”)

      Further, Mr. Baker shares his North Carolina residence with a disabled

Army veteran. Mr. Baker provides living assistance to his roommate when at

the residence they share. Mr. Baker’s roommate owns a collection of firearms

that are kept in a locked gun safe in the residence. Mr. Baker does not have

access to the firearms locked in that gun safe.

      The nature of the restriction as currently imposed would force Mr. Baker

to relocate or for his roommate to remove his weapons from the residence they

share. This would be an unwarranted and unjustified hardship in this case

where only misdemeanor offenses are charged.

      On this basis, Mr. Baker requests that the firearms restriction be

modified to allow him to possess and carry a firearm while traveling away from

his residence for business or personal reasons, and in compliance with state

and local laws regarding such possession wherever he may be.

            B.    Mr. Baker Should Not Be Required To Report Contacts With
                  Law Enforcement Unless The Contact Involves An
                  Investigation of Mr. Baker.

      The language of the condition requiring him to report contacts with law

enforcement reads that Mr. Baker must “[R]eport as soon as possible, to the

pretrial services or supervising officer, every contact with law enforcement

personnel, including arrests, questioning, or traffic stops.” (Emphasis added.)



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      Since January 6, 2021, and continuing to the date of this motion, Mr.

Baker has pursued a series of investigations as a journalist into the events of

that day and various criminal prosecutions that have followed. He is currently

employed full-time as an investigative journalist with Blaze Media of Dallas,

Texas. Among the subjects that Mr. Baker has reported on are issues involving

the internal operations of the U.S. Capitol Police and the Department of

Justice. He has also extensively reported on court testimony of various

members of the U.S. Capitol Police and FBI in multiple trials involving the

events of January 6, raising questions about the truthfulness of their

testimony when considering other evidence known to the government.

      During this work, Mr. Baker has developed many contacts and sources of

information in federal law enforcement agencies, including in the U.S. Capitol

Police. He has made promises of confidentiality to many of these sources in

exchange for the information they have provided, and most remain confidential

and in contact with him notwithstanding the pending charges.

      Requiring Mr. Baker to report “every” contact with law enforcement

would include individuals currently providing information that informs his

work as a journalist. It would almost certainly cause law enforcement sources

to stop communicating with him. That condition constitutes an infringement

on his First Amendment right to gather information and report on the activities

of government agencies and actors.

      Mr. Baker requests that this restriction be modified to eliminate the word

“every” and that the condition be limited to contacts with law enforcement in

instances where Mr. Baker is investigated for an alleged violation of some



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statute or regulation, and not include any contacts with law enforcement that

are part of his work.

             C.    Mr. Baker Should Not Be Required To Provide Notice Of His
                   Travel Into the District of Columbia.

      The Government is aware that Mr. Baker has for more than a year been

working with multiple committees of Congress conducting oversight and

investigative activities related to the events of January 6. Mr. Baker began

working directly with Members and Staff of these committees in February

2023. This includes regular visits to the Capitol where he is given access to

evidence collected by the committees – including all video in the possession of

Congress -- and works together with Members and staff on various issues

under review.

      Since January 6, 2021, Mr. Baker has made literally dozens of trips to

the greater D.C. metropolitan area. During those trips, he has come into the

District of Columbia hundreds of times – including to the Prettyman Federal

Courthouse where he is a regular observer of legal proceedings involving

defendants charged in connection with the events of January 6.

      Requiring Mr. Baker to “report” his plans to travel into the District –

when the only purpose of that travel is to meet with Members of Congress and

their staffs as part of his work as a journalist -- intrudes on his First

Amendment rights. Mr. Baker has been traveling to the District of Columbia

without having to report to anyone for more than 36 months without issue.

There is no factual basis that justifies giving notice of his reporting simply

because he’s now charged with four misdemeanors. On that basis, Mr. Baker

requests that this condition be removed.


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                                  CONCLUSION

      Based on the foregoing, this Court should grant Defendant Baker’s

Motion to eliminate all conditions of pretrial release currently imposed upon

him other than those conditions set forth in Sec. 3142(b) where a “personal

cognizance” release is ordered. Alternatively, to the extent conditions of release

remain, to modify the terms and conditions with respect to possession of

firearms, reporting notice of contact with law enforcement, and reporting plans

to travel to the District of Columbia as set forth above.



Dated: April 19, 2024                 Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I, William L. Shipley, hereby certify that on this day, April 19, 2024, I

caused a copy of the foregoing document to be served on all counsel through

the Court’s CM/ECF case filing system.

                                             /s/ William L. Shipley
                                             William L. Shipley, Jr., Esq.




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